 Case 4:21-cv-01236-O Document 62 Filed 12/23/21                  Page 1 of 31 PageID 2497



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 U.S. NAVY SEALs 1-26;

 U.S. NAVY SPECIAL WARFARE
 COMBATANT CRAFT CREWMEN 1-5;

 U.S. NAVY EXPLOSIVE ORDNANCE
 DISPOSAL TECHNICIAN 1; and

 U.S. NAVY DIVERS 1-3,

                        Plaintiffs,
                                                             Case No. 4:21-cv-01236-O
           v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States of
 America; LLOYD J. AUSTIN, III,
 individually and in his official capacity as
 United States Secretary of Defense; UNITED
 STATES DEPARTMENT OF DEFENSE;
 CARLOS DEL TORO, individually and in
 his official capacity as United States Secretary
 of the Navy,

                        Defendants.


                       DECLARATION OF ANDREW B. STEPHENS

       Pursuant to 28 U.S.C. § 1746, I, Andrew B. Stephens, under penalty of perjury declare as

follows:

   1. I am over the age of eighteen and am competent to make this declaration.

   2. I am one of the attorneys of record for the Plaintiffs in this matter.

   3. The information contained in this declaration is based on my personal knowledge.

   4. Attached as Exhibit 1 to this declaration is a true and correct copy of a document I received

on December 23, 2021 from one of my clients.
 Case 4:21-cv-01236-O Document 62 Filed 12/23/21                  Page 2 of 31 PageID 2498



   5. The document is titled “COMPLAINT OF WRONG UNDER ARTICLE 1150, U.S.

NAVY REGULATIONS” against Deputy Chief of Naval Operations (N1) John Nowell (the

“DCNO (N1)”), to the Chief of Naval Operations, dated December 23, 2021 (the “Complaint”).

   6. Attached to the Complaint and referenced therein is a copy of DCNO (N1) Standard

Operating Procedure (SOP) for Religious Accommodations dated November 2021 (the “DCNO

(N1) SOP”).

   7. The complainant, a Commander in the United States Navy, states that the DCNO (N1) SOP

“demonstrate[s] 1) that the disapproval of my religious accommodation request was pre-

determined, 2) that the letter Vice Admiral Nowell sent disapproving my religious accommodation

request was a form template, and 3) that the case-by-case review of my request required by law

and regulation was a fraud designed to have the appearance of following regulation but was

actually conducted after my disapproval letter was written, all DCNO(N1) documentation

supporting my disapproval was packaged, and all intermediate routing steps of my religious

accommodation request was completed.”

   8. Attached as Exhibit 2 to this declaration is a true and correct copy of an article titled “Air

Force Denies More Than 2,100 COVID-19 Vaccine Religious Exemption Requests,” dated

December 22, 2021. This article states that “the Air Force has denied 2,130 requests for religious

accommodations to the Pentagon’s COVID-19 vaccine mandate and has not approved any, the

service announced Tuesday.”

   9. At the Preliminary Injunction hearing held on December 20, 2021, Defendants’ counsel

stated that the Air Force has approved two Religious Accommodation requests for the COVID-19

vaccine mandate.
 Case 4:21-cv-01236-O Document 62 Filed 12/23/21                    Page 3 of 31 PageID 2499



       I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and

correct. Executed on December 23, 2021.



                                               /s/Andrew B. Stephens
                                               ANDREW B. STEPHENS
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 4 of 31 PageID 2500




                            EXHIBIT
                                   1
  Case 4:21-cv-01236-O Document 62 Filed 12/23/21                    Page 5 of 31 PageID 2501


                                                                                23 Dec 21
From: Commander                     , USN/
To:   Chief of Naval Operations
Via:  (1) Commander,
      (2) Vice Admiral John B. Nowell
      (3) Commander, United States Fleet Forces Command
      (4) Commander,
      (5) Commander,

Subj: COMPLAINT OF WRONG UNDER ARTICLE 1150, U.S. NAVY REGULATIONS

Ref:    (a) Article 1150, U.S. Navy Regulations
        (b) JAGINST 5800.7G, Chapter III
        (c) SECDEF Memo of 24 Aug 2021, Mandatory Coronavirus Disease 2019 Vaccination of
        Department of Defense Service Members
        (d) SECNAV WASHINGTDON DC 302126Z Aug 21(ALNAV 062/21)
        (e) CNO WASHINGTON DC 311913Z Aug 21 (NAVADMIN 190/21)
        (f) 42 U.S.C. 2000bb-1
        (g) DOD Instruction 1300.17, Religious Liberty in the Military Services
        (h) BUPERSINST 1730.11a, Standards and Procedures Governing the Accommodation of
        Religious Practices

Encl:   (1) DCNO (N1) Standard Operating Procedure (SOP), Religious Accommodations SOP Nov 2021
        (2) DCNO (N1) Disapproval of Religious Accommodation Through Waiver of Immunization
        Requirements, To CDR                    ,

1. This complaint of wrong under reference (a) is submitted in compliance with reference (b).

2. Complainant Information:

        a. Current Command:

        b. Command at time of alleged wrong:

        c. PRD:

        d. Current mailing address and e-mail address:




        e. Permanent home address and email address:




3. Respondent Information:

        a. Rank and Name: Vice Admiral John Nowell, USN

        b. Organization: Deputy Chief of Naval Operations (N1)

                                                                                                  1
   Case 4:21-cv-01236-O Document 62 Filed 12/23/21                        Page 6 of 31 PageID 2502



4. Complaint:

        a. Type of Alleged Wrong: Denial of complainant’s Constitutional rights under the First and Fifth
           Amendments through a violation of 42 U.S.C. 2000bb-1, DODINST 1300.17, and
           BUPERSINST 1730.11A.

             (1) Date alleged wrong discovered:                    2021

             (2) Date written request for redress was submitted to complainant’s commanding officer:
                 N/A

             (3) Date answer to request for redress was received: N/A

             (4) Number of calendar days between alleged wrong and submission of complaint:            days

             (5) Specific, detailed explanation of alleged wrong committed:

         On                       I submitted a request to waive COVID-19 immunization requirements due
to my religious beliefs that preclude me from receiving a COVID-19 vaccination. I submitted an addendum
to that request on                   . The Deputy Chief of Naval Operations (DCNO)(N1), Vice Admiral
Nowell, signed and dated a disapproval of my request on

        My religious accommodation request was processed by the OPNAV N131 Religious
Accommodation team. Enclosure (1) is the Standard Operating Procedure (hereafter DCNO(N1) SOP) that
Vice Admiral Nowell and his staff followed to handle the vast increase in COVID-19 related immunization
waiver requests resulting from the various military COVID-19 vaccine orders, references (c) through (e).
The DCNO(N1) SOP instructs OPNAV N131 staffers on the exact steps to take upon receipt of a religious
accommodation request including computer screenshots that demonstrate what lines of text to write and
what buttons to click. The DCNO(N1) SOP is broken down into 6 phases, complete with 50 total steps.
Many of the steps are fairly innocuous such as Phase 0 Step 2 which requires the staffer to “[r]eply all to the
[accommodation request] email and acknowledge receipt of the request with the following response:”
Several of the DCNO(N1) SOP steps, however, are not innocuous and provide clear evidence of violations
of law per 42 U.S.C. 2000bb-1, and regulations per DODINST 1300.17 and BUPERSINST 1730.11A. I
will demonstrate in this complaint that I have been wronged by Vice Admiral Nowell’s violations of law
and regulations through his use of the DCNO(N1) SOP process in denying my request for religious
accommodation. Specifically, I will use the DCNO(N1) SOP to demonstrate 1) that the disapproval of my
religious accommodation request was pre-determined, 2) that the letter Vice Admiral Nowell sent
disapproving my religious accommodation request was a form template, and 3) that the case-by-case review
of my request required by law and regulation was a fraud designed to have the appearance of following
regulation but was actually conducted after my disapproval letter was written, all DCNO(N1)
documentation supporting my disapproval was packaged, and all intermediate routing steps of my religious
accommodation request was completed.

         The first 13 steps of the DCNO(N1) SOP are preparation steps in which the OPNAV N131 staffer
verifies that the request has all of the required documents and that those documents are moved to the
appropriate folder on the shared drive. If the religious accommodation request does have all of the proper
documents, then astonishingly, the very first processing step a staffer makes is to add the disapproval
template to the folder and to rename the disapproval template file to include the Last Name, First Name,
and Rank of the religious accommodation requester. This is done in Step 14.


                                                                                                              2
   Case 4:21-cv-01236-O Document 62 Filed 12/23/21                      Page 7 of 31 PageID 2503


        The very next step, Step 15 on page 7, asks the staffer to open the disapproval template and update
the “TO:” line with the requester’s Name, Rank, and Designator. DCNO(N1) SOP Step 15 also shows a
picture of the disapproval template complete with highlighted portions to indicate what must be replaced
with the requester’s information in order to prepare the disapproval for routing. There is no approval
template mentioned in the SOP. In fact, there is no indication that an approval template has ever been
written. I found it shocking that Vice Admiral Nowell permits a process so riddled with systemic religious
discrimination that my request was not even reviewed before a disapproval letter was added, tailored to
include my name, and only then was routed for review.

        The next several steps of the DCNO(N1) SOP direct the OPNAV N131 staffer to prepare the
religious accommodation package for routing within their document routing system. Step 20 lists who must
review the religious accommodation request including BUMED (Rear Admiral Gillingham), Policy and
Strategy (N0975), the Officer Plans and Policy Office, the Special Assistant for Legal Matters, N1 Fleet
Master Chief, Total Force Manpower and Personnel Plans and Policy (N13 Front Office), and finally
Manpower, Personnel, Training, and Education (N1 Front Office). I felt betrayed to know that my religious
accommodation request went to these offices for review with a pre-prepared disapproval letter already
included within the package.

        Once routing/review is completed by the above offices, the OPNAV N131 staffer begins to package
groups of religious accommodation requests together for final signature. This is done in Steps 30 through
32. Step 33 directs the OPNAV N131 staffer to update an internal memo from N13 to Vice Admiral
Nowell. This internal memo asks Vice Admiral Nowell to “sign TABs A1 through A10, letters
disapproving immunization waiver requests based on sincerely held religious beliefs.” TAB B lists all
supporting documents including the original religious accommodation request from the requester. It is clear
from the DCNO(N1) SOP that all TAB A letters are the same disapproval template letters prepared by the
OPNAV N131 staffers in Step 15 immediately upon receipt of the initial religious accommodation request.

         Steps 35-38 list the first time an OPNAV N131 staffer is asked to actually read through the
religious accommodation request and begin to list details from the request in a spreadsheet for Vice
Admiral Nowell’s “review”. There is a note in ALL CAPS which emphasizes the importance of this review
to building the façade that the religious accommodation requests are receiving a case-by-case examination.
The note states: “THIS IS THE MOST CRITICAL STEP IN THE ENTIRE PROCESS AND THE CNO
AND CNP ARE RELYING ON YOU TO ENSURE THAT YOUR REVIEW IS THOUROUGH AND
ACCURATE. DO NOT RUSH THIS PROCESS AND ENSURE THAT YOU UNDERSTAND BEFORE
MOVING FORWARD.” This step is critical to disguising the systemic religious discrimination within the
DCNO(N1) SOP process because according to reference (h) they are required to review each request “on a
case-by-case basis, giving consideration to the full range of facts and circumstances relevant to the specific
request.” Reference (h) goes on to state that “[r]equests to accommodate religious practices should not be
approved or denied simply because similar requests were approved or denied.” The most significant
problem with the DCNO(N1) SOP is that the case-by-case “review” does not happen until Step 35 in the
process. By this point, my disapproval letter had already been written (Step 15), my religious
accommodation request and related documents had already been returned from the various required
reviewing offices (Steps 16-29), my disapproval and religious accommodation request had already been
packaged within a batch of other similar requests (Steps 30-32), and, finally, an internal memo had already
been drafted from DCNO (N13) to DCNO (N1) requesting that Vice Admiral Nowell disapprove my
religious accommodation request (Step 33). All this occurred prior to the official “review” of my religious
accommodation request required by law and regulation.

       After my entire disapproval package was built and then prepared for Vice Admiral Nowell to sign,
the DCNO(N1) SOP Steps 35-38 finally direct the OPNAV N131 staffer to read the entirety of my religious
accommodation request package including my original request, the BUMED Memo, and the Legal Memo.

                                                                                                              3
   Case 4:21-cv-01236-O Document 62 Filed 12/23/21                        Page 8 of 31 PageID 2504


They are then directed to add any additional pertinent information from the package and place that
information into a spreadsheet. This spreadsheet is evidence, not of a true case-by-case review of the
religious accommodation request, because the result at this point in the DCNO(N1) SOP process, is a
forgone conclusion. This spreadsheet is evidence instead of the systematic and deliberate attempts taken by
Vice Admiral Nowell and his staff to appear compliant with regulatory requirements while actually
depriving me of my rights to due process under the Fifth Amendment and my rights to freedom of religious
expression under the First Amendment of the Constitution.

          In addition to fraudulently attempting to appear legal and in compliance with regulation, it is
plainly clear that the DCNO(N1) SOP process is also designed to streamline the subsequent (and pre-
determined) disapproval upon receipt of a religious accommodation request. The DCNO(N1) SOP,
especially Step 35, makes it clear that the secondary goal (after streamlining the pre-determined
disapproval), is to protect Vice Admiral Nowell from potential legal blowback in the event he is asked for
proof that a case-by-case review was completed for each religious accommodation request. Even though
the DCNO(N1) SOP is blatantly defying requirements under both law and regulation, in my personal
disapproval letter, enclosure (2), Vice Admiral Nowell made the statement that “[a]ll requests for
accommodation of religious practices are assessed on a case-by-case basis.” Vice Admiral Nowell goes on
to state that “[i]n making this decision, I reviewed reference (g) [my religious accommodation request],
including the endorsements from your chain of command, the local chaplain and the advice of Chief,
Bureau of Medicine and Surgery in reference (h).” While the DCNO(N1) SOP cannot prove that Vice
Admiral Nowell is lying in making this last statement, enclosure (1) does prove that any review of my
religious accommodation request that Vice Admiral Nowell may or may not have conducted, had no
bearing on my discriminatory and pre-determined disapproval which he signed on

         Vice Admiral Nowell and his staff are ignoring the requirements of both the Religious Freedom
Restoration Act and DODINST 1300.17. The requirements under law, per reference (f), and the
requirements of policy, per reference (g), oblige the Navy to accommodate my religious freedom unless 1)
the military policy, practice, or duty is in furtherance of a compelling governmental interest, and 2) it is the
least restrictive means of furthering that compelling governmental interest. Both references (f) and (g) also
place the burden of proof for the compelling governmental interest and least restrictive means “upon the
DoD Component and not upon the individual requesting the exemption.” In denying my request, as
demonstrated throughout both enclosures (1) and (2), Vice Admiral Nowell failed to prove a compelling
governmental interest. In fact, Vice Admiral Nowell denied my request using a disapproval template and
relied upon a BUMED Memo which was also a preprepared template. Neither the disapproval template
used by Vice Admiral Nowell, nor the BUMED template used by Rear Admiral Gillingham, addressed in
any way the overwhelming evidence I provided in my original religious accommodation request from
                   and my addendum from                        .

         Vice Admiral Nowell has violated both law and regulation in utilizing the discriminatory process
established in the DCNO(N1) SOP. This process attempts to circumvent established standards required by
both law and regulation while attempting to hide unlawful actions behind an intentionally designed façade
meant to wrongfully appear compliant with regulatory standards. The discriminatory process used by Vice
Admiral Nowell to disapprove my religious accommodation request has caused me personal detriment by
denying me my right to due process under the Fifth Amendment and my right to freedom of religious
expression under the First Amendment of the Constitution. The process used by Vice Admiral Nowell to
review religious accommodation requests must be brought into compliance with law and regulation
immediately before more sailors are harmed.

        I have deep concerns that this complaint, detailing the discriminatory disapproval process for
religious accommodations in the Navy, will not be properly address and will instead be ignored and
dismissed. Due to these concerns I intend to copy this communication to both the House and Senate Armed

                                                                                                                   4
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 9 of 31 PageID 2505
 Case 4:21-cv-01236-O Document 62 Filed 12/23/21                      Page 10 of 31 PageID 2506



                                  Religious Accommodations
Background: On 22 January 2014, SECDEF released a new DoDI (see TAB A) changing the way
requests for religious accommodation would be routed and reviewed. Previously, Commanding Officers
had the authority to approve or deny requests for religious accommodation. There was no consistency
and some Commanding Officers did not significantly evaluate the request. The DoDI transferred the
decision authority for all requests for religious accommodation that fall outside current uniform and
grooming standards as well as Navy policy to CNP. In order to ensure each request is given due
consideration, the DoDI instructs CNP to view each request in its entirety. Each request is evaluated on a
case by case basis. For example, a request from an operational member to grow a beard may be denied,
while the same request made by a Sailor on shore duty could be approved. Whatever the decision, it is
only valid while the Sailor’s circumstances remain the same. If the Sailor executes PCS orders or the
nature of the Sailor’s work changes significantly, a new request will have to be routed. The Sailor must
abide by current Navy standards and policy while the request is being adjudicated. Reservists also fall
under this instruction. They are required to submit their requests via the same channels as active duty.


                                Step-by-Step Instructions
Phase 0 (Steps 1 – 5)
    1. N131 receives Religious Accommodation (RA) requests via a functional email distro,
       ALTN_Navy_Religious_Accommodations@navy.mil. The inbox only reliably receives email
       from NMCI email addresses, so submitters are encouraged to send an email without an encrypted
       endorsement first to ensure communication is received. Here is an example of an email requesting
       consideration of an RA:




                                                                                         Enclosure (1)
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                   Page 11 of 31 PageID 2507


 2. Reply all to the email and acknowledge receipt of the request with the following response:




 3. Go to the Phase 0 - N131 Pre-Tracker folder on the shared drive and select the appropriate folder.




 4. Create a new folder with the following nomenclature: Last, First RANK.




 5. Drag and drop a copy of the request and the original email.




                                                 2
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                     Page 12 of 31 PageID 2508



Phase 1a (Steps 6 – 13)
  6. Open the RA Tracker located on the shared drive at N131 > N131D > 2N131D23 RA Tracker >
     Data tab. Add the new request to the bottom of the spreadsheet and ensure there are no duplicate
     entries. Fill in all vacant fields using the Original request as the authoritative data source




  7. Move the file to the Phase 1 - Initial Intake\Phase 1 - Immunizations\00 Initial Drop Off folder.




  8. Open the original request to ensure the following are included IAW BUPERSINST 1730.11A and
     MILPERSMAN 1730-020: (Appeals only require member’s request and command endorsement)
        a. Member’s Request
        b. Command Endorsement (+Second Endorsement if not an O-6 Command)
        c. Chaplain Memo
        d. Chaplain Checklist
        e. Page 13 (Immunizations Only)




                                                  3
Case 4:21-cv-01236-O Document 62 Filed 12/23/21               Page 13 of 31 PageID 2509


 9.   The Member’s request should look like this and addressed to the CO, or CNO or DCNO (N1)




 10. A Command Endorsement with a CO recommendation (ISIC required if not an O-6);




                                              4
Case 4:21-cv-01236-O Document 62 Filed 12/23/21               Page 14 of 31 PageID 2510


 11. Chaplain Memorandum for the Record and interview checklist from the Chaplain who
     interviewed the Sailor about the request for religious accommodation.




                                             5
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                    Page 15 of 31 PageID 2511


 12. Page 13 (Immunizations Only)




 13. If all the documents are included and completed properly route to RA Adjudications\Phase 1 -
     Initial Intake\Phase 1 - Immunizations\01 Ready For Processing

        a. If any of those items are missing, send to 02 Packages Awaiting Documents so the
           command can be contacted to inquire their whereabouts or the reasons for the error.
                 i. Contact Command via email and follow up with a phone call within 48 hours
                ii. Ensure the folder is labeled with the missing documents

        b. If there are multiple files send to 03 Folders That Need to Be Consolidated so the items
           can be consolidated and routed to are missing, send to 02 Packages Awaiting Documents
           so the command can be contacted to 01 Ready For Processing.

         c. If the request is for a Sailor assigned to a joint command, move it to 04 Sailors Jointly
            Assigned - Do Not Process

         d. If the member sends an email withdrawing their request, add the email to their folder and
            move to 05 Member Withdrawn - DO NOT PROCESS\

         e. For any other issues, move to 06 Other Issues - LT Neuer Review




                                                  6
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                    Page 16 of 31 PageID 2512



Phase 1 (Steps 14 – 15)

  14. Inside the Phase 1 - Immunizations\01 Ready For Processing folder, add the most recent RA
      Response Letter template and rename the files to the following nomenclature:
          a. 1 - RA Response Letter ICO Last First RANK
          b. 2 - RA Request ICO Last First RANK
          c. 5 - Original Email ICO Last First RANK




  15. Open 1 - RA Response Letter ICO Last, First RANK to update the response letter to reflect the
      new request’s specific information from the 2 – RA Request ICO Last, First RANK document.
      The highlighted sections below are the sections that will need to be updated. Save those changes
      and route to Phase 3 after verification of all five initial documents are confirmed from Step 8.




                                                  7
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                   Page 17 of 31 PageID 2513



Phase 3 (Steps 16 – 28)
  16. Uploaded into DonTracker. Visit dontracker.navy.mil to log in.




  17. Once logged in, go to Taskers > Inbox




                                                 8
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                 Page 18 of 31 PageID 2514


 18. Once at the Inbox, select New > Templates > Religious Accommodation Request.




 19. Under Tasker Details fill in the following information:
        a. Subject—Religious Accommodation ICO Rank/Rate Last Name;
        b. Due Date—Due date is 7 days, but select the next business day;
        c. Priority—Select Medium;
        d. Point of Contact—Insert the name of the person who is responsible for the process.




                                               9
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                  Page 19 of 31 PageID 2515


 20. Under Responders, is where you designate who reviews the tasker and their respective deadlines.
        e. Due Dates will automatically be populated based on the 7-day deadline;
                 i. BUMED (SECRETARIAT - TASKER GROUP) (BUMED (FRONT OFFICE))
                ii. POLICY AND STRATEGY (N0975 TASKER GROUP)
               iii. SPECIAL ASSISTANT FOR LEGAL MATTERS (CNP LEGAL FRONT
                    OFFICE)
               iv. N1 FLEET MASTER CHIEF (N1 FLEET)




 21. In the Attachments section, select Add Attachment > Add Local Files > then select and categorize
     the following files:
          f. 1 - RA Response Letter ICO Last First RANK (Organizational Response)
          g. 2 - RA Request ICO Last First RANK (Original Source Document)




                                               10
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                   Page 20 of 31 PageID 2516


 22. Below is completed tasker. If no other changes are necessary, click Send to begin the workflow.




 23. Once the workflow has started, you will receive the following message.




                                                11
   Case 4:21-cv-01236-O Document 62 Filed 12/23/21                       Page 21 of 31 PageID 2517


24. You must periodically check the status of the by going to your Inbox > Awaiting Responses. The
    taskers can be sorted by tasker number, subject, due date, etc. By clicking on a tasker, you can see
    where the tasker is in the process in the Tasker Details window,




      25. Retrieve legal memos from the following folder: RA Adjudications\New Legal Memo Dropoff
          and add to the folder.


      26. Once a response by BUMED populates, download the BUMED Memo to the member’s folder.
          Ensure the name and date of member’s request are accurate (if not correct send back for rework).




                                                      12
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                  Page 22 of 31 PageID 2518


 27. Update Date/Serial in Ref H on the Response Letter (1 - Response Letter ICO Last, First RANK)




 28. Once a tasker has been responded to by N0975, CNP LEGAL FRONT OFFICE, N1 FLEET, and
     BUMED, send to the Phase 4 folder - 0 Ready For Processing / 00 Phase 3 Drop Off




 29. Do not forward unless all stakeholders have reviewed and following documents are in the folder:
        a. 1 - RA Response Letter ICO Last First RANK
        b. 2 - RA Request ICO Last First RANK
        c. 3 - RA Legal Memo ICO Last First RANK
        d. 4 - BUMED Memo ICO Last First RANK
        e. 5 - Original Email ICO Last First RANK




                                               13
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                    Page 23 of 31 PageID 2519



Phase 4 (Steps 29 – 44)

  30. Create a new folder with the following nomenclature:
         a. DD_MON_YY – In Progress




  31. Add 10 folders from 00 Phase 3 Drop Off folder
         a. Priority (CMD Triad/Other Priority)
         b. Officers/E-9
         c. Oldest to Newest Active Duty/MOB/RECALL
         d. SELRES

  32. Add the following documents to the DD_MON_YY – In Progress folder
         a. N13 to N1 Buckslip - Template
         b. REF B - RA Immunizations Requests Tracker Template
         c. TAB C Coordination Page RA Template
         d. REF A - DCNO N1 1730 ltr Ser 114168 of 20 Aug 21

  33. Open N13 to N1 Buckslip. Update the date and list of 10 attachments based on the selected files.




                                                 14
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                       Page 24 of 31 PageID 2520




  34. Open the following document: REF B - RA Immunizations Requests Tracker Template




  35. Begin filling in the spreadsheet after reading through the entirety of the buckslip, original request,
      BUMED and Legal Memos and add any pertinent information for DCNO (N1) to consider. THIS
      IS THE MOST CRITICAL STEP IN THE ENTIRE PROCESS AND THE CNO AND CNP
      ARE RELYING ON YOU TO ENSURE THAT YOUR REVIEW IS THOUROUGH AND
      ACCURATE. DO NOT RUSH THIS PROCESS AND ENSURE THAT YOU UNDERSTAND
      BEFORE MOVING FORWARD.

  36. Ensure all the information (dates/name spellings/letter formatting) match.

  37. Move to the right side of the spreadsheet.




  38. When Complete, save changes as DD_MON_YY




                                                   15
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                    Page 25 of 31 PageID 2521


 39. Open “TAB C - Coordination Page – Rank/Rate Last Name” to update the dates on the
     coordination page to the current date of processing to match the folder. Save the changes.




 40. Upon Completion of the file modification, move entire file to 4 - Ready for N131 Review\2
     Awaiting N131 Review (LT Didawick) or 3 Awaiting N131 Review (CDR Cua) based on your
     assigned reviewer identified on the organization chart.
 41. Rename Folder and files with appropriate batch number
         a. DD_MON_YY-1 (1st Batch)
         b. DD_MON_YY-2 (2nd Batch)

  42. After Review from Phase 4 is complete, drop files in the following folder:
      \\naeawnydfs101v.nadsusea.nads.navy.mil\CS021$\BUPERS_ALTN_N45997_N1\COVID-19
      RA

  43. Link the spreadsheet in the folder to the locations by pressing CTRL+K on the word “here”

  44. Email the N13 Front office that the folder is ready.




                                                  16
Case 4:21-cv-01236-O Document 62 Filed 12/23/21                     Page 26 of 31 PageID 2522



Phase 5 (Steps 45 – 47)
  45. The request will be routed through the deputy to N13. Once a decision is made by N13, the N13
      Administrative Assistant will update the Coordination Page and Buckslip then send the request to
      N1 via email.

  46. Once a final decision has been made on the request, N1 will return the signed TAB A – Response
      Letter – RA ICO Rank/Rate Last Name.

  47. N13 Front Office will save the letter in the Sailor’s RA Request folder as “DCNO Signed –
      Rank/Rate Last Name RA” and a notification email will be sent to N131.


Phase 6 (Steps 48 – 50)

  48. An email containing that letter is emailed to the Sailor via their command by replying to the
      original email request.




  49. Update the RA Tracker workbook’s Data tab to reflect the dates of the process and
      approval/disapproval.

  50. Move the folder to RA Adjudications > 00 ARCHIVED REQUESTS.




                                                  17
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 27 of 31 PageID 2523




                                                           Enclosure (2)
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 28 of 31 PageID 2524
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 29 of 31 PageID 2525




                            EXHIBIT
                                    2
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 30 of 31 PageID 2526
Case 4:21-cv-01236-O Document 62 Filed 12/23/21   Page 31 of 31 PageID 2527
